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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:05CR3010
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )          ORDER
SALOME GEE PEREZ,                              )
                                               )
                     Defendant.                )

       At the request of the U.S. Marshal,

       IT IS ORDERED that:

      (1)     The hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 83) has been set before the undersigned United States district judge on
Wednesday, September 13, 2006, at 1:15 p.m., in Courtroom No. 1, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (2)   The United States Marshal is directed to return the defendant to the district for
the hearing.

       August 24, 2006.                            BY THE COURT:

                                                   s/ Richard G. Kopf
                                                   United States District Judge
